                 Case 20-10343-LSS               Doc 368        Filed 04/08/20         Page 1 of 4




                             IN THE UNITED STATES BANKRUPTCY
                                 COURT FOR THE DISTRICT OF
                                        DELAWARE




    In re:                                                          Chapter 11


    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1

                                                                    (Jointly Administered)
                               Debtors.


 CENTURY INDEMNITY COMPANY’S2 LIMITED OBJECTION TO THE OFFICIAL
TORT CLAIMANTS’ COMMITTEE’S MOTION FOR AN ORDER CLARIFYING THE
  REQUIREMENTS TO PROVIDE ACCESS TO CONFIDENTIAL OR PRIVILEGED
                    INFORMATION [DKT. NO. 332]

         Century submits this limited objection to the Official Tort Claimants’ Committee’s

(“TCC”) Motion (the “Motion”) as a precaution to prevent documents subject to a shared

privilege from being disclosed to the TCC and BSA’s adversaries in the tort system.

         The TCC’s Motion states, “the Tort Claimants’ Committee expects the Debtors and other

parties to provide Confidential Information.” Motion at ¶ 8. “Confidential Information” is

defined to include non-public documents, agreements, projections, reports, and interpretations

“concerning . . . claims against the Debtors’ estates, and the relationship of the Debtors to non-

debtor entities such as the Local Councils.” This Confidential Information that the TCC seeks



1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  Century Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance Company of
North America and Indemnity Insurance Company of North America, Ace Insurance Group Westchester Fire
Insurance Company and Westchester Surplus Lines Insurance Company (“Century”).
                                                           1
OMM_US:77572045.2
               Case 20-10343-LSS         Doc 368     Filed 04/08/20      Page 2 of 4




from Debtors regarding claims against the Debtors’ estates presumptively contains Privileged

Information3 about BSA’s underlying defense of claims asserted by the TCC.

        The TCC’s Motion further states that “[t]he Debtors, the Tort Claimants’ Committee, and

the Unsecured Creditors Committee are currently negotiating the terms of a form of Protective

Order intended to govern the treatment of Confidential Information.” Motion at n. 3. While

counsel for Century requested a copy of the draft Protective Order from BSA, we have not

received anything to date and have not been involved in the negotiations on the referenced

protective order.

        Century objects to any protective order that permits the disclosure to the TCC (or other

Parties outside a shared privilege) of Privileged Information related to the defense of the tort

claims asserted against BSA. Absent a protective order clearly limiting the TCC’s access to

these privileged documents, BSA’s defense in the tort system will be jeopardized. Any

protective order should contain provisions preventing the sharing of BSA’s and Century’s

Privileged Information. To protect BSA’s Estate and any insurers’ contributions to the Estate,

Century seeks to be involved in the negotiation of the protective order, requests a copy of the

draft protective order, and requests that the TCC clarify the documents that it expects to receive

from BSA and from the BSA’s Local Councils.

        We highlight that the TCC requests protection against the disclosure of its privileged

information while seeking similar Privileged Information from BSA. Century responds with an



3
  Privileged Information is defined here to include (i) attorney work product,(ii) attorney-client
communications among BSA, Century, BSA’s other insurers, and underlying defense counsel,
(iii) documents containing the mental impressions of underlying defense counsel, BSA’s
Counsel, or insurer counsel in defense of BSA and/or BSA’s related entities, and (iv) joint
defense communications, among other communications and/or documents.
                                                 2
OMM_US:77572045.2
               Case 20-10343-LSS        Doc 368      Filed 04/08/20     Page 3 of 4




equivalent request to prevent the defense of BSA’s claims in the tort system from being

disclosed to BSA’s adversaries. This Court has addressed the disclosure of privileged documents

in In re Imerys. We seek to preempt this disclosure here.

        WHEREFORE, Century respectfully seeks to be heard on the following requests:

(i) Century must be included in all negotiations on a protective order, (ii) Century requests a

copy of the draft protective order being negotiated with the TCC, (iii) the TCC must not be

allowed to gain access to Privileged Information regarding the defense of the underlying claims

against BSA, and (iv) neither BSA nor its Local Councils or related non-Debtor entities may

disclose Privileged Information about the underlying defense of tort claims.




                                                 3
OMM_US:77572045.2
               Case 20-10343-LSS   Doc 368    Filed 04/08/20    Page 4 of 4




Dated: April 8, 2020                         Respectfully Submitted,


                                             By: /s/ Stamatios Stamoulis
                                                 Stamatios Stamoulis (#4606)

                                             STAMOULIS & WEINBLATT LLC
                                             800 N. West Street, Third Floor
                                             Wilmington, Delaware 19801
                                             Telephone: 302 999 1540
                                             Facsimile: 302 762 1688

                                             O’MELVENY & MYERS LLP
                                             Tancred Schiavoni (pro hac vice pending)
                                             Janine Panchok-Berry (pro hac vice pending)
                                             Times Square Tower
                                             7 Times Square
                                             New York, New York 10036-6537
                                             Telephone: 212 326 2000
                                             Facsimile: 212 326 2061

                                             Counsel for Century Indemnity Company, as
                                             successor to CCI Insurance Company, as
                                             successor to Insurance Company of North
                                             America and Indemnity Insurance Company of
                                             North America, Ace Insurance Group Westchester
                                             Fire Insurance Company and Westchester
                                             Surplus Lines Insurance Company




                                         4
OMM_US:77572045.2
